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                      EXHIBIT 5




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   O’Melveny & Myers LLP                 T: +1 212 326 2000                                                         File Number:
   Times Square Tower                    F: +1 212 326 2061                                                         35586-21
   7 Times Square                        omm.com
   New York, NY 10036-6537




                                                                                                                    Jeffrey A. N. Kopczynski
   July 15, 2022                                                                                                    D: +1 212 728 5675
                                                                                                                    jkopczynski@omm.com
   CONFIDENTIAL
   VIA E-MAIL

       Sathya S. Gosselin
       Farhad Mirzadeh
       Hausfeld LLP
       888 16th Street, N.W.
       Suite 300
       Washington, DC 20006
       sgosselin@hausfeld.com
       fmirzadeh@hausfeld.com


   Re:      In re National Football League’s Sunday Ticket Antitrust Litigation,
            Case No. 2:15-ml-02668-PSG (JEMx) (C.D. Cal.)

   Counsel,

            We write on behalf of third-party DIRECTV, LLC and DIRECTV Holdings, LLC
   (collectively, “DIRECTV”) regarding Plaintiffs’ July 8 letter about DIRECTV’s privilege log.
   Plaintiffs have marked more than 7,000 entries1 – almost a quarter of DIRECTV’s privilege log
   just weeks before the close of fact discovery in this case – without providing the specificity
   necessary for DIRECTV to understand or respond to Plaintiffs’ challenge. Apple Inc. v.
   Samsung Elecs. Co., 306 F.R.D. 234, 245 (N.D. Cal. 2015) (the challenging party must
   “specifically explain why it should have access to each document”). Challenging thousands of
   entries categorically, as Plaintiffs have done, is counterproductive and unworkable, particularly
   given that the log data Plaintiffs have provided is erroneous and does not align with DIRECTV’s
   controlling privilege log.

           Far from “narrow[ing] the scope” of a potential privilege dispute, as Plaintiffs have
   represented, Plaintiffs’ letter introduces ambiguity and confusion into the discovery negotiations.
   And it does so only after Plaintiffs obtained an agreement to extend discovery of third-party
   DIRECTV witnesses, a blatant, inappropriate, and ultimately ineffectual attempt to use the
   extension as an opportunity to manufacture additional privilege challenges against DIRECTV.



   1
    DIRECTV has tabulated the number of entries challenged using the data Plaintiffs provided but, as
   discussed more below, that data is seemingly erroneous and unreliable to the point that DIRECTV is
   unable to identify precisely which entries Plaintiffs intended to select.



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           Plaintiffs demand an immediate response to this scattershot, hastily compiled,
   immensely broad and flawed list of privilege challenges without an acknowledgement or
   appreciation for the good-faith efforts that DIRECTV has taken in the last two months to respond
   to Plaintiffs’ last-minute, often burdensome demands. In just the last 60 days, DIRECTV has:

       •   prepared, redacted, and produced to Plaintiffs an updated privilege log, which at
           Plaintiffs’ request includes email subject fields for fully withheld emails and filenames for
           attachments and loose files;

       •   prepared a data-reference table to allow Plaintiffs to identify their own transactional data
           because Plaintiffs failed to preserve their DIRECTV invoicing and other records;

       •   spent weeks interviewing DIRECTV’s viewership and transactional data engineers in
           order to respond to the parties’ structured data questions, which now total over 300
           (many of which include dozens of subparts and alternative options making one question
           in fact dozens of questions);

       •   prepared for and participated on multiple meet-and-confers with Plaintiffs regarding their
           extraordinarily overbroad eighteen 30(b)(6) Topics, some of which contained nine or
           more individual subparts;

       •   spent several dozen hours interviewing witnesses to determine the appropriate 30(b)(6)
           witness for Plaintiffs’ multi-part overbroad Topics;

       •   spent several dozen hours tracking down the nine DIRECTV witnesses Plaintiffs’
           intended to depose in their 30(b)(1) capacity, six of whom are former employees and
           some of whom have not been at DIRECTV for more than a decade;

       •   spent countless more hours scheduling depositions for DIRECTV witnesses on dates
           that Plaintiffs’ originally told us they were available, only to have Plaintiffs request
           DIRECTV go back to each witness to find new dates because Plaintiffs’ (at least) three
           law firms were unable to accommodate any of their originally proposed dates; and

       •   spent several dozen hours preparing witnesses for deposition, including                   in
           his 30(b)(6) capacity, only to have Plaintiffs cancel his 30(b)(6) deposition on the week of
           his deposition due to Plaintiffs’ own unpreparedness.

           In addition, on May 27, Plaintiffs demanded that DIRECTV send the titles of 24
   individuals, a list that included individuals that have not worked at the company for years and
   that spanned multiple affiliates, mergers, and divestments—in short, a demand that
   necessitated substantial historical research to little purpose.2 While we’ve had multiple meet
   and confers between May 27 and Plaintiffs’ July 8 letter (and heard from Plaintiffs via email
   numerous more times), not once have you followed up on this request nor asked us to prioritize


   2
     The precise title of an individual has no bearing on whether a document is privileged or not – if the
   individual was a DIRECTV attorney, it simply does not matter whether their title was, e.g., Senior Legal
   Counsel or Associate General Counsel.


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   it over the other dozens of individual requests we’ve received from you and responded to. In
   any event, we have appended to this letter, the complete list of titles that you requested. We
   also note that, as with the privilege log, your requested list of names shows a lack of diligence
   on your part. Certain of these names appear, with their titles, in the documents available to
   you through our document production. See, e.g., DIRECTV-ST-01982217 (containing
            title); DIRECTV-ST-02929872 (containing                          title); DIRECTV-ST-
   02404357 (containing                             title); DIRECTV-ST-02174240 (containing
                title).

            With this latest letter, Plaintiffs are again attempting to inappropriately shift the burden
   and responsibility for their own work onto DIRECTV. Plaintiffs confusingly lump distinct types of
   privilege challenges together making it difficult, if not impossible, to assess what exactly they
   seek to challenge for each entry. For Category A, which challenges over 1,600 entries,
   Plaintiffs purport to challenge entries where: (1) “the communication contains no attorney”;
   (2) “where the inclusion of a third party waives the privileges”; or (3) “where there are so many
   individuals involved in the communication that the communication was not intended to be kept
   privileged or confidential.” These are three different types of challenges, but Plaintiffs expect
   DIRECTV to figure out which of these objections Plaintiffs seek to invoke for each entry. The
   same is true for Category C, where for over 1500 entries, Plaintiffs expect DIRECTV to
   determine if they seek to challenge insufficient information about: (1) “the author of a
   document”; (2) “document title”; or (3) “description.”

           More problematically, the edited version of the privilege log you sent contains
   widespread data issues that make it impossible to identify the documents Plaintiffs are
   challenging. DIRECTV-PRIV-0011037, DIRECTV-PRIV-0001866, DIRECTV-PRIV-0001897,
   DIRECTV-PRIV-0001998 are just a few examples of control numbers that do not match the
   entries we have in our June 6 privilege log. It appears possible that Plaintiffs either did not use
   the latest version of DIRECTV’s privilege log or created isolated data by sorting some columns
   out of sync with other columns. Regardless, the data does not make sense and DIRECTV is
   unable to ascertain which entries are being challenged.

            For there to be a meaningful meet-and-confer, Plaintiffs must correct the deficiencies in
   their letter and attachments and provide a document-by-document basis for their purported
   privilege challenge, as the law requires. Samsung Elecs. Co., 306 F.R.D. 234 at 245 (N.D. Cal.
   2015). DIRECTV is willing to discuss with you the contours of the information necessary for
   Plaintiffs to remediate their notice and then on a reasonable number of documents Plaintiffs
   identify with data DIRECTV can use.

   Very truly yours,

   /s/ Jeffrey A. N. Kopczynski

   Jeffrey A. N. Kopczynski
   for O’Melveny & Myers




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                                    Exhibit A
           Name                    Position               Affiliation
     Jay




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